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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
BRYAN HENRY,
                                                      :
                                    Plaintiff,
                                                      :          ORDER
                  -against-                                      24 Civ. 1446 (GHW) (GWG)
                                                      :
MAJOR LEAUGE BASEBALL
ADVANCED MEDIA, L.P.,                                 :

                                    Defendant.        :
------------------------------------------------------X
AARON GOLLAND et al.,                                 :

                          Plaintiffs,               :

        -v.-                                        :
                                                                 24 Civ. 6270 (GHW)(GWG)
MAJOR LEAGUE BASEBALL                               :
ADVANCED MEDIA, L.P.
                                                    :
                           Defendant.
-----------------------------------------------------X
ERIC WONG et al.,                                    :

                          Plaintiffs,               :

        -v.-                                        :
                                                                 25 Civ. 777 (GHW) (GWG)
MLB ADVANCED MEDIA, L.P.,                           :

                           Defendant.                :
-----------------------------------------------------X
GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        Defendants have moved to dismiss the complaint and to strike plaintiffs’ class allegations
in each of the three above-captioned cases. On May 8, 2025, defendant filed a letter in each
case, notifying the Court of the Second Circuit’s recent opinion in Solomon v. Flipps Media, Inc.,
2025 WL 1256641 (2d Cir. May 1, 2025). Defendant argues that this opinion “provides binding
authority in support of MLBAM’s pending motion to dismiss based on Plaintiffs’ failure to allege
the disclosure of PII.”
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        The Court hereby gives leave to the plaintiffs in each of the above cases to file a letter
providing their views on the effect of Solomon on the pending motions. Any such letter shall be
filed by May 21, 2025.
       SO ORDERED.
Dated: May 14, 2025
       New York, New York
